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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS


                                                   :
JANE DOE,                                          :
                                                   :
                       Petitioner,                 :
                                                       No. 4:19-cv-04112
         v.                                        :
                                                   :
MACQUARIE INVESTMENT                               :
MANAGEMENT BUSINESS TRUST,                         :
                                                   :
                       Respondent.                 :
                                                   :


 RESPONDENT’S DISCLOSURE STATEMENT PURSUANT TO FEDERAL RULE 7.1

         Respondent, Macquarie Investment Management Advisers (incorrectly identified as

Macquarie Investment Management Business Trust in the caption), by and through its

undersigned counsel and in accordance with Federal Rule 7.1, is providing the following

corporate disclosure information:

         1.     Macquarie Investment Management Advisers is a series of Macquarie Investment

Management Business Trust (a Delaware statutory trust), which is a subsidiary of Macquarie

Management Holdings, Inc. (“MMHI”).

         2.     MMHI is a subsidiary, and subject to the ultimate control, of Macquarie Group

Limited, a global and diversified financial group with headquarters in Sydney, Australia.

Macquarie Group Limited is publicly-traded in Australia.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served on all

counsel of record, as listed below, via the court’s electronic filing system, on October 28, 2019:


                                    Charles A. Sturm, Esq.
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                                    Attorney for Petitioner



                                                              /s/ Linda C. Schoonmaker
                                                              Linda C. Schoonmaker




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